












Dismissed and Memorandum Opinion filed April 15, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00177-CV

____________

&nbsp;

RALPH DOUGLAS, Appellant

&nbsp;

V.

&nbsp;

RISSIE OWENS, ET AL, Appellees

&nbsp;



&nbsp;

On Appeal from the
412th District Court

Brazoria County,
Texas

Trial Court Cause
No. 55935

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed January 29, 2010.&nbsp; On April 6, 2010, appellant
filed a motion to dismiss the appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Panel consists of Justices Brown, Sullivan, and
Christopher.





